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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


 RICHARD PRATT; and LARRY JONES,
 individually and on behalf of all others      Case No. 1:21-cv-11404-TLL-PTM
 similarly situated,


                   Plaintiffs,


          v.

 OUTDOOR SPORTSMAN GROUP, INC.,


                   Defendant.

                         NOTICE OF APPEARANCE

      PLEASE TAKE NOTICE that Frank S. Hedin, of Hedin Hall LLP, hereby

enters his appearance as counsel of record for Plaintiffs in the above-captioned

matter.

Dated: November 22, 2021                    Respectfully submitted,

                                            HEDIN HALL LLP

                                            /s/ Frank S. Hedin            .
                                            Frank S. Hedin
                                            HEDIN HALL LLP
                                            1395 Brickell Avenue, Suite 1140
                                            Miami, Florida 33131
                                            Telephone: (305) 357-2107
                                            Facsimile: (305) 200-8801
                                            E-Mail: fhedin@hedinhall.com

                                            Counsel for Plaintiffs
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                          CERTIFICATE OF SERVICE

      I hereby certify that on November 22, 2021, I electronically filed the foregoing

document with the Clerk of the Court using the ECF system which will send

notification of such filing to the attorneys of record.


                                        /s/ Frank S. Hedin        .
                                        Frank S. Hedin
